Case 2:01-cV-02804-.]DB-STA Document 133 Filed 07/18/05 Page 1 of 2 Page|D 152

IN THE UNITED sTATEs DISTRICT CoURTF"`ED ev egg D'C-
FoR THE WESTERN DISTRICT oF TENNESS _
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HELEN M. sTARNEs, QM`KEW§§LC%M
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Piaimiff,
V_ NO. 01_2304-13

SEARS, ROEBUCK & COMPANY,

JONES LANG LaSALLE AMERICAS, INC.,

d/b/a JONES LANG LaSALLE, INC., VALOR
SECURITY SERVICES, INC., and OTHER
UNKNOWN PARTIES HAVING AN OWNERSHIP
INTEREST and/or RESPONSIBILITY FOR
SECURITY AT SOUTHLAND MALL,

Defendants .

 

()RDER OF REFERENCE

 

Before the court is Plaintiff’s Motion in Limine to Exclude any Testimony of or About
Joe Morton filed on July 14, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, Setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order Will
constitute a waiver of that objection S_eq Rule 72(a), Federal Rules of Civil Procedure.

Ql`
IT IS SO ()R])ERED this j § day of July, 2005.

 

J. DANIEL BREEN `
IQIJ;AD sTATEs DISTRICT JUDGE

Thls document entered on the docket heet ln com lance
with Fluie 58 and/or 79(a) FRCP on l/| 85 §§

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 133 in
case 2:01-CV-02804 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

EssEE

 

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Honorable J. Breen
US DISTRICT COURT

